                       CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 1 of 7
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

 UNITED STATES OF AMERICA                                                   §      AMENDED JUDGMENT IN A CRIMINAL
                                                                            §      CASE
                                                                            §
 v.                                                                         §
                                                                            §      Case Number: 0:19-CR-00184-JRT-DTS(1)
 RYAN THOMAS FEINE                                                          §      USM Number: 22111-041
                                                                            §      Jordan S Kushner
                                                                            §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s)                                       Counts 1 and 2 of the indictment
        pleaded nolo contendere to count(s) which was
 ☐      accepted by the court
 ☐      was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                      Offense Ended     Count
 18:2251(a) and 2251(e) PRODUCTION AND ATTEMPTED PRODUCTION OF CHILD                                      09/10/2013        1
 PORNOGRAPHY
 18:2251(a) and 2251(e) PRODUCTION AND ATTEMPTED PRODUCTION OF CHILD                                      09/10/2013        2
 PORNOGRAPHY




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 3 ☒ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     February 3, 2020
                                                                     Date of Imposition of Judgment




                                                                     s/John R. Tunheim
                                                                     Signature of Judge

                                                                     JOHN R. TUNHEIM
                                                                     CHIEF JUDGE UNITED STATES DISTRICT COURT
                                                                     Name and Title of Judge

                                                                     May 31, 2022
                                                                     Date


                                                                       1
                      CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 2 of 7



AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    RYAN THOMAS FEINE
CASE NUMBER:                  0:19-CR-00184-JRT-DTS(1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
456 months total; 360 month(s) as to count 1; 360 month(s) as to count 2 – 264 months to run concurrent to Count 1 and 96 months to
run consecutive to Count 1, and Counts 1 and 2 to run fully concurrently with the sentence imposed on July 27, 2020 in State v. Feine,
85-cr-18-1616 (3rd Judicial District, Winona, Minnesota).

The aggregate 456-month federal sentence has not been reduced to account for time spent in custody prior to the sentence imposed by
this amended judgment, nunc pro tunc to February 3, 2020.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends placement in Minnesota or as close to Minnesota as possible.



 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

           ☐ at                                          on

           ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ before                         on
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                        to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                         2
                      CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 3 of 7
AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    RYAN THOMAS FEINE
CASE NUMBER:                  0:19-CR-00184-JRT-DTS(1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : twenty (20) years terms to run
concurrent.



                                                    MANDATORY CONDITIONS

   1.   You must not commit another federal, state or local crime.
   2.   You must not unlawfully possess a controlled substance.
   3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
        release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                    future substance abuse. (check if applicable)
   4.   ☒     You  must  make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
              sentence of restitution. (check if applicable)
   5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
   6.   ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
              you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
   7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.




                                                                     3
                      CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 4 of 7
AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    RYAN THOMAS FEINE
CASE NUMBER:                  0:19-CR-00184-JRT-DTS(1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




                                                                      4
                      CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 5 of 7
AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    RYAN THOMAS FEINE
CASE NUMBER:                  0:19-CR-00184-JRT-DTS(1)

                                     SPECIAL CONDITIONS OF SUPERVISION

 a.    The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a
       search conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a
       reasonable manner, based upon reasonable suspicion of contraband or evidence of a supervision violation.
       The defendant shall warn any other residents or third parties that the premises and areas under the defendant's
       control may be subject to searches pursuant to this condition.

 b.    The defendant shall not possess or use a computer or have access to any on-line service without the prior
       approval of the U.S. Probation and Pretrial Services Office. The defendant's cooperation shall include, but
       not be limited to, allowing installation of a computer and Internet monitoring program and/or identifying
       computer systems, Internet-capable devices, and similar memory and electronic devices to which the
       defendant has access. Monitoring may include random examinations of computer systems along with
       Internet, electronic, and media storage devices under the defendant's control. The computer system or
       devices may be removed for a more thorough examination, if necessary. The defendant shall contribute to the
       cost of such monitoring services, based on the defendant's ability to pay, as deemed appropriate by the U.S.
       Probation and Pretrial Services Office.

       The defendant shall not possess, view, access, or otherwise use child pornography or any material that is
       sexually stimulating or sexually oriented deemed to be inappropriate by the U.S. Probation Officer in
       consultation with the treatment provider.

       The defendant shall provide the probation officer access to any requested financial information, including
       credit reports, credit card bills, bank statements, and telephone bills.

 c.    The defendant shall not associate with persons under the age of 18 except in the presence of a responsible
       adult who is aware of the nature of the defendant's background and current offense and who has been
       approved by the probation officer.

 d.    The defendant shall participate in sex offender and/or mental health treatment as approved by the probation
       officer and shall submit to risk assessment which may include but is not limited to physiological testing and
       polygraph/truth verification testing. Polygraph testing may be used following completion of primary
       treatment as directed by the probation officer to monitor adherence to the goals and objectives of treatment.
       Sex offender assessments and treatment are to be conducted by a therapist approved in advance by the
       probation office.

 e.    The defendant shall have no contact with the victims (EF and JF) or AF (including letters, communication
       devices, audio, or visual devices, visits, or any contact through a third party) without prior consent of the
       probation officer.

 g.    The defendant shall refrain from possessing or purchasing any electronic equipment, including video and still
       cameras, which allows for covert monitoring or photography, without the prior approval of the probation
       officer.




                                                                     5
                        CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 6 of 7



AO 245B (Rev. 11/16) Sheet 5 – Criminal Monetary Penalties
DEFENDANT:                       RYAN THOMAS FEINE
CASE NUMBER:                     0:19-CR-00184-JRT-DTS(1)

                                             CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments.
                        Assessment             Restitution               Fine       AVAA Assessment*                                     JVTA Assessment**
       TOTALS               $200.00              $6,000.00                $.00                      $.00                                              $.00

    ☐       The determination of restitution is deferred until  An Amended Judgment in a Criminal Case (AO245C)
            will be entered after such determination.
    ☒       The defendant must make restitution (including community restitution) to the following payees in the amount
            listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
           § 3664(i), all nonfederal victims must be paid before the United States is paid.

           Restitution of $6,000.00 to:

                      MN CRIME VICTIM REPARATIONS BOARD
                      $3,000.00

                      MN CRIME VICTIM REPARATIONS BOARD
                      $3,000.00


 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options may be subject to
        penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        ☒ the interest requirement is waived for the          ☐ fine                               ☒ restitution
        ☐ the interest requirement for the                               ☐ fine                                     ☐ restitution is modified as follows:
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.




                                                                                 6
                      CASE 0:19-cr-00184-JRT-DTS Doc. 116 Filed 05/31/22 Page 7 of 7


AO 245B (Rev. 11/16) Sheet 6 – Schedule of Payments
DEFENDANT:                    RYAN THOMAS FEINE
CASE NUMBER:                  0:19-CR-00184-JRT-DTS(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☐ Lump sum payments of $                                             due immediately, balance due

       ☐ not later than                                         , or

       ☐ in accordance                     ☐      C,          ☐        D,       ☐       E, or       ☐       F below; or

 B     ☒ Payment to begin immediately (may be combined with                     ☐       C,          ☒       D, or             ☒       F below); or

 C     ☐ Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D     ☒ Payment in equal monthly (e.g., weekly, monthly, quarterly) installments of not less than $ 50.00 over a period of
              20 years (e.g., months or years), to commence 30 days (e.g., 30 or 60 days) after release from imprisonment to a term
              of supervision; or

 E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F     ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and 2 ,
              which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.
          Over the period of incarceration, the defendant shall make payments of either quarterly installments of $25.00 if
          working non-UNICOR or 50 percent of monthly earnings if working UNICOR.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 ☐ Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several                    Corresponding Payee,
      (including defendant number)                        Total Amount                    Amount                              if appropriate

 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):

 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.


                                                                            7
